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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION


UNITED STATES OF AMERICA

           VS.                            :     No. CR-2-08-097(1)
                                                JUDGE SMITH
RUDY E. TIRADO


                 GOVERNMENT'S PLEA AGREEMENT SUBMISSION
                      OF ELEMENTS AND PENALTIES FOR
                              21 U.S.C. §846


                     l.   ELEMENTS:     21 U.S.C. §846


           First:                   That the defendant conspired to
                                    distribute over 5 kilograms of
                                    cocaine;

           Second:                  That the conspiracy described in
                                    the Indictment was willfully
                                    formed, and was existing at or
                                    about the time alleged;

           Third:                   That the defendant willfully became
                                    a member of the conspiracy;

           Fourth:                  That said agreement existed in
                                    whole or in part, at or about the
                                    time alleged, in the Southern
                                    District of Ohio.
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                            2.    PENALTIES

         A.    Mandatory Minimum:       Ten years imprisonment.

         B.    Possible Maximum:        Life imprisonment, a fine of
                                        $4,000,000, a 5 year term of
                                        supervised release, and $100
                                        special assessment.



                                        Respectfully submitted,

                                        GREGORY G. LOCKHART
                                        United States Attorney


                                        s/Kevin W. Kelley
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